                  Case 2:18-cv-01847-MJP Document 19 Filed 04/04/19 Page 1 of 3




 1                                                                      Honorable Marsha J. Pechman

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 7                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     FAMILIES BELONG TOGETHER -
 9   WASHINGTON COALITION and                              NO. 2:18-CV-01847 MJP
     MOHAMMED KILANI,
10                                                         SECOND STIPULATED MOTION
                                         Plaintiffs,       AND PROPOSED ORDER TO STAY
11                                                         INITIAL SCHEDULING DATES
             v.
12
     THE CITY OF SEATAC, and JEFF
13   ROBINSON, AS AN INDIVIDUAL AND AS                     NOTED FOR CONSIDERATION:
     AN EMPLOYEE OF SEATAC,                                APRIL 4, 2019
14
                                    Defendants.
15

16

17
                                                 STIPULATED MOTION
18
            The above-named parties, by and through their attorneys of record, hereby request a 90-
19
     day stay of the all of the Scheduling Dates reflected on the Court’s February 19, 2019 Order
20
     Granting Stipulated Motion to Stay Initial Scheduling Dates [Dkt. 16]. This stay is approved by
21
     all counsel’s respective clients.
22
            This stay of the Order is necessary to accommodate continuing resolution discussions
23
     between all parties.
24
            The above-named parties respectfully request the Court to stay the deadlines in its February
25
     19, 2019 Order for 90 days.
26

     STIPULATED MOTION AND PROPOSED
     ORDER TO STAY INITIAL SCHEDULING                                                Peterson | Wampold
     ORDER- 1                                                                       Rosato | Feldman | Luna
     NO. 2:18-CV-01847 MJP                                                         1501 FOURTH AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                         PHONE: (206) 624-6800
                                                                                          FAX: (206) 682-1415
               Case 2:18-cv-01847-MJP Document 19 Filed 04/04/19 Page 2 of 3




 1   DATED this 4th day of April, 2019.

 2    PETERSON | WAMPOLD                                  BYRNES KELLER CROMWELL LLP
      ROSATO | FELDMAN | LUNA
 3                                                        /s/ Paul Taylor_____________________
      /S/ Felix G. Luna_______________                    Paul Taylor, WSBA No. 14851
 4    Felix G. Luna, WSBA No. 27087                       Attorneys for Defendants
      Tomás A. Gahan, WSBA No. 32779
 5
      Attorneys for Plaintiffs                            1000 Second Avenue, 38th Floor
 6                                                        Seattle, Washington 98104
      1501 Fourth Avenue, Suite 2800
 7    Seattle, WA 98101

 8    PUBLIC DEFENDER ASSOCIATION
 9
      /S/ Patricia Sully_______________
10    Patricia Sully, WSBA No. 50494
11    Prachi Dave, WSBA No. 50498
      Attorneys for Plaintiffs
12
      110 Prefontaine Place S, Suite 502
13    Seattle, WA 98104
14
                                           PROPOSED ORDER
15
            THIS MATTER having come on duly and regularly before the undersigned Judge of the
16
     above-entitled court, and upon the agreement of counsel for all parties and the Court being fully
17
     advised, it is hereby
18
            ORDERED, ADJUDGED AND DECREED that the deadlines in its February 19, 2019
19
     Order [Dkt. 16] are stayed for 90 days.
20
            The Clerk and/or Judicial Assistant shall issue a new Scheduling Order.
21
            SO ORDERED this _______ day of February, 2019.
22

23

24                                                        Judge Marsha J. Pechman

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26

     STIPULATED MOTION AND PROPOSED
     ORDER TO STAY INITIAL SCHEDULING                                                Peterson | Wampold
     ORDER- 2                                                                       Rosato | Feldman | Luna
     NO. 2:18-CV-01847 MJP                                                         1501 FOURTH AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                         PHONE: (206) 624-6800
                                                                                          FAX: (206) 682-1415
               Case 2:18-cv-01847-MJP Document 19 Filed 04/04/19 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the date shown below I electronically filed the foregoing document

 3   with the Clerk of the Court using the CM/ECF system which will send notification of such filing

 4   to all counsel of record.

 5
     Dated: April 4, 2019
 6

 7                                                       /s/ Dana Vizzare
                                                         Dana Vizzare, Paralegal
 8                                                       1501 4th Avenue, Suite 2800
 9                                                       Seattle, WA 98101
                                                         Ph. 206-624-6800
10                                                       Email: dana@pwrfl-law.com

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     STIPULATED MOTION AND PROPOSED
     ORDER TO STAY INITIAL SCHEDULING                                               Peterson | Wampold
     ORDER- 3                                                                      Rosato | Feldman | Luna
     NO. 2:18-CV-01847 MJP                                                        1501 FOURTH AVENUE, SUITE 2800
                                                                                  SEATTLE, WASHINGTON 98101-3677
                                                                                        PHONE: (206) 624-6800
                                                                                         FAX: (206) 682-1415
